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Sorenson, Ken (USAHI)

From:                          Mollway Orders   <   Mollway_Orders@hid.uscourts.gov>
Sent:                         Tuesday, July 5, ?022 9:11 AM
To:                           ricksing@ hawaii.rr.com; Sorenson, Ken (USAHI); Albanese, Michael (USAHI); Smith,
                               Micah (USAHI)
Cc:                            Darsie lng-Dodson
Subject:                       FW: Sentencing   of Kalani English




From: marta greenleaf <greenleaf.ma ui@ya hoo.com>
Sent: Saturday, JulV 2,2022 2:3L PM
To: Mollway Orders <Mollway_Orders@hid.uscourts.gov>
Sublect: Sentencing of Kalani English

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Aloha J udge Mollaway:

l'm writing as a Maui resident since 2000. I began farming on Maui in 2OO4 and have been very
active in the local community with Hawaii Farmers Union and other Ag groups.

Kalani English was not everyone's friend on Maui...l watched as those who offered campaign
money got his attention and those (like me) got a blank stare.

Kalani was instrumental in the HDoH pronouncement that all Cesspools on Maui must be
converted to Septic Systems...that is at least a S300M conversion opportunity for a company or
companies...l would not be surprised to find more bribes coming from companies who
spearheaded the demand for conversions.

As a farmer, I know what happens when we compost...nothing gets into the ground water 20OO'
below and if there are not pha rmaceutica ls, the materials that remain are biomass that feeds the
microbes in the soil

The point is Kalani, preyed on the Citizens of Maui for his own gain and the heck with us.

Mahalo
Bill Greenleaf
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